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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA                               Criminal No.; |~7CT /OZ^f
 V.                                                    VIOLATIONS:


 (1) DALNOVIS DELAROSA ARIAS and                       21 U.S.C. §846 - Conspiracy to Possess
                                                       with Intent to Distribute and to Distribute
 (2) MINERVA RUIZ,                                     Heroin


                      Defendants.                      21 U.S.C. §841 - Possession with Intent to
                                                       Distribute and Distribution of Heroin


                                                       21 U.S.C. §853 - Drug Forfeiture
                                                       Allegation




                                           INDICTMENT



COUNT ONE:            (21 U.S.C. §846 - Conspiracy to Possess With Intent to Distribute and
                       to Distribute Heroin)

       The Grand Jury charges that:

       From in or around June 2017, and continuing through August 24, 2017, at Lawrence,

Charlestown, and elsewhere in the District of Massachusetts, and elsewhere,

                       (1)    DALNOVIS DELAROSA ARIAS and
                       (2)    MINERVA RUIZ,

defendants herein, did knowingly and intentionally combine, conspire, confederate, and agree with each

other and with persons known and unknown to the Grand Jury, to possess with intent to distribute, and to

distribute heroin, a Schedule I controlled substance, in violation of 21 U.S.C. §841(a)(l).

       It is further alleged that the offense described in Count One involved one kilogram or more of a

mixture and substance containing a detectable amount of heroin, a Schedule I controlled substance.

Accordingly, 21 U.S.C. §841(b)(l)(A)(i) applies to this offense.
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       It is further alleged that, with respect to Count One, one kilogram or more of a mixture and

substance containing a detectable amount of heroin, a Schedule I controlled substance, is attributable to,

and was reasonably foreseeable by (1) DALNOVIS DELAROSA ARIAS and (2) MINERVA RUIZ.

Accordingly, 21 U.S.C. §841(b)(l)(A)(i) is applicable to both defendants.

       All in violation of 21 U.S.C. §846.
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COUNT TWO:                (21 U.S.C. §841(a)(1) - Possession with Intent to Distribute and Distribution of
                          Heroin)

       The Grand Jury further charges that:

       On or about August 24, 2017, at Lawrence, Charlestown, and elsewhere in the District of

Massachusetts,

                          (1)    DALNOVIS DELAROSA ARIAS and
                          (2)    MINERVA RUIZ,

defendants herein, did knowingly and intentionally possess with intent to distribute heroin, a Schedule

I controlled substance.


       It is further alleged that the offense described in Count Two involved one kilogram or more of

a mixture and substance containing a detectable amount of heroin, a Schedule I controlled substance.

Accordingly, 21 U.S.C. §841(b)(l)(A)(i) applies to this offense.

       It is further alleged that, with respect to Count Two, one kilogram or more of a mixture and

substance containing a detectable amount of heroin, a Schedule I controlled substance, is attributable

to, and was reasonably foreseeable by (1) DALNOVIS DELAROSA ARIAS and (2) MINERVA RUIZ.

Accordingly, 21 U.S.C. §841(b)(l)(A)(i) is applicable to both defendants.

       All in violation of 21 U.S.C. §841 (a)(1).
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                               DRUG FORFEITURE ALLEGATION
                                           (21 U.S.C. §853)

The Grand Jury further charges that:

       1.      Upon conviction of the offenses alleged in this Indictment,


                       (1)    DALNOVIS DELAROSA ARIAS and
                       (2)    MINERVA RUIZ,

defendants herein, shall forfeit to the United States pursuant to 21 U.S.C, §853, any and all property

constituting, or derived from, any proceeds the defendants obtained, directly or indirectly, as a result

of such offense; and any property used or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, such violation.

       2.      If any ofthe property described in paragraph 1, above, as a result of any act or omission

of the defendants ~


               (a)     cannot be located upon the exercise of due diligence;

               (b)     has been transferred or sold to, or deposited with, a third party;

               (c)     has been placed beyond the jurisdiction of the Court;

               (d)     has been substantially diminished in value; or

               (e)     has been commingled with other property which cannot be divided without
                       difficulty;

it is the intention of the United States, pursuant to 21 U.S.C. §853(p), to seek forfeiture of any other

property of the defendants up to the value of the property described in paragraph 1.

       All pursuant to 21 U.S.C. §853.
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                                             A TRUE BILL,




                                             FOREPERSON OF THE GRAND JURY



LEAH B. FOLEY
Assistant United States Attorney



DISTRICT OF MASSACHUSETTS                    September 20, 2017

Returned into the District Court by the Grand Jurors and filed.




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